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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA §
§
v. § CRIMINAL NO. 5:22-CR-1442-3
§
§
DIEGO ISMAEL MUNOZ §

FACTUAL STATEMENT IN SUPPORT OF PLEA AGREEMENT

The United States of America, by and through Alamdar S. Hamdani, United States
Attorney for the Southern District of Texas and Mark A. Hicks, Assistant United States Attorney,
and the defendant, DIEGO ISMAEL MUNOZ, and the defendant’s counsel, hereby stipulate as
follows:

I.

If this case proceeded to trial, the United States of America would prove each element of
the offense beyond a reasonable doubt. The following facts, among others, would be offered to
establish the Defendant’s guilt:

II.

On October 17, 2022, agents with the Drug Enforcement Administration received
information that weapons and marijuana were being stored at an apartment on San Agustin Avenue
in Laredo, Texas. Agents were informed that “Javier”—later identified as Rodolfo Javier

Avendano-Avendano—lived at the apartment and the weapons in the apartment were going to be

smuggled into Mexico.
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At 7:20 p.m., DEA agents conducted surveillance of the apartment. Various vehicles pulled
up to the apartment and people entered and exited the apartment. At 9:25 p.m., a Mazda sedan with
paper plates arrived at the apartment. The driver exited the Mazda and entered the apartment. At 9:45
p.m., two people exited the apartment and left in the Mazda.

Webb County Constables performed a traffic stop on the Mazda because it was displaying
fictitious paper plates. The driver was identified as the juvenile brother of co-defendant Coraima
Lizeth Munoz. He was cited for the traffic violation and allowed to leave. The passenger was
identified as Rodolfo Javier Avendano-Avendano. He had an active warrant and was taken into
custody.

DEA agents maintained surveillance of the apartment during the above traffic stop. At
10:30 p.m., Coraima Munoz exited the apartment and appeared to be on a cell phone. After about
five minutes, a blue sedan arrived at the apartment. Two people exited the car and went inside the
apartment with Coraima Munoz. After a few minutes, one of the men was observed leaving the
apartment and carrying a box, which he put into the trunk of the car. The other man carried a couple
of trash bags out of the apartment and put them into the car. At 10:45 p.m., the car left the parking
lot.

Webb County Constables performed a traffic stop on the car because it did not have any
license plates. The driver was identified at Kevin Yssac Guerra. The passenger was identified as
Diego Ismael Munoz. Deputies saw a clear bag of marijuana in plain view in the back seat of the car.
Deputies then searched the car and found plastic trash bags filled with marijuana and ammunition.
Deputies also found a box in the trunk that contained 11 firearms, 8 handguns and 3 rifles.

While this traffic stop was being conducted, surveillance agents observed Coraima Munoz
leave the apartment and walk down the street. They initiated a consensual encounter with her. They

explained why they were there and that they had seen several people enter and leave the apartment.
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Coraima Munoz consented to a search of the apartment. Inside, agents found 117 grams of a white
powdery substance and 7.5 kilograms of suspected marijuana.

Coraima Munoz was interviewed by agents. She said her boyfriend was Avendano. She said
her juvenile brother called her earlier that night and told her “the gig is up” because they had just
been stopped by police. After hearing this, Diego Munoz and Guerra showed up to the apartment and
got the guns and drugs out of it. She said that Avendano buys guns from friends and sends them to
Nuevo Laredo, Mexico. He also dealt drugs. She knew what he was doing with the firearms and said
he was paid $400 to $500 for handguns and $1,200 for rifles. She said they had been doing this for
about four months and sold 10 firearms per week to people in Mexico.

Diego Munoz was interviewed by agents. He said Coraima Munoz was his cousin, and she
was dating Avendano. He said Avendano and his cousin buy firearms and then sell them to people in
Mexico. Coraima Munoz called him earlier that night and told him she needed help to move the guns
and drugs out of the apartment because Avendano was stopped by the police. Diego Munoz was
riding in a car driven by Guerra, and they went to the apartment. He said he moved the guns, and
Guerra moved the drugs. He also admitted that he helped to facilitate gun sales with Avendano and
Coraima Munoz.

Guerra was interviewed by agents. He said that he and Diego Munoz were driving around
town in the car he just bought when Coraima Munoz called Diego Munoz. After the phone call,
Diego Munoz asked him to help move the guns and drugs. He admitted he helped carry the guns and

drugs out of the apartment, and he was going to be transporting them to Coraima Munoz’s mother’s

house.
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Ill.

Defendant, DIEGO ISMAEL MUNOZ, hereby confesses and judicially admits that on
October 18, 2022, he knowingly conspired and agreed with persons known and unknown to the
grand jurors to ship, transport, transfer, cause to be transported, and otherwise dispose of one and
more firearms to another person, in and affecting interstate and foreign commerce, knowing and
having reasonable cause to believe that the use, carrying, and possession of a firearm by the
recipient would constitute a felony (as defined in section 932(a)), in violation of Title 18, United

States Code, Sections 933(a)(1), (a)(3), and (b).

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DIEGO aa. MUNOZ
Defendant

APPROVED:

ALAMDAR S. HAMDANI
UNITED STATES ATTORNEY

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